                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:19-CR-00395-D-6

 United States of America,

 v.
                                                                        Order
 Troy Davis,

                        Defendant.


        Defense counsel has asked the court to allow him to withdraw as counsel for Defendant
Troy Davis. The basis for this request is a breakdown in the attorney-client relationship. The court
held a hearing with Davis and his counsel to discuss the nature of the dispute and its impact on
their professional relationship.

       In order to be entitled to the appointment of a new attorney, a defendant must make a
showing of good cause. United States v. Gallop, 838 F.2d 105, 107 (4th Cir. 1988). Given the
nature of the dispute and the fact that it is unlikely to resolve, the court finds that good cause has
been shown to allow Davis’s attorney to withdraw.

       The court thus grants the Motion to Withdraw. The court orders the Federal Public
Defender to appoint new counsel for Davis. Davis’s current attorney is relieved of any further
responsibility in this matter once the newly appointed counsel enters a notice of appearance.

       Any delay resulting from counsel’s withdrawal and the appointment of new counsel shall
be excluded in computing time under the Speedy Trial Act as set forth in 18 U.S.C. §§
3161(h)(7)(A). This delay will allow the defendant a reasonable time to obtain counsel and allow
defense counsel the reasonable time necessary for effective preparation, taking into account the
exercise of due diligence.

Dated: October 25, 2021
Dated:

                                               ROBERT T. NUMBERS, II
                                               ______________________________________
                                               UNITEDT.
                                               Robert  STATES MAGISTRATE
                                                         Numbers,  II       JUDGE
                                               United States Magistrate Judge




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